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           EXHIBIT H
                  Case 5:22-cv-00179-EJD Document 54-9 Filed 01/19/23 Page 2 of 3




From: "Nicholas A. Rendino" <nrendino@kasowitz.com>
Date: December 14, 2022 at 8:12:31 PM EST
To: "Nickerson, Morgan T." <Morgan.Nickerson@klgates.com>
Cc: "Christine A. Montenegro" <CMontenegro@kasowitz.com>, "Jason S. Takenouchi" <JTakenouchi@kasowitz.com>,
"McDevitt, Jerry" <Jerry.McDevitt@klgates.com>, "Kelley, Derek W." <Derek.Kelley@klgates.com>, "Finnerty,
Christopher S." <Chris.Finnerty@klgates.com>
Subject: Re: MLW v. WWE - Draft Protective Order and ESI Protocol



       Morgan,



       Given the outstanding issues with the proposed protective order and the ESI protocol, as well as the lack
       of consideration of our proposed protocols for expert and fact discovery, we would like to schedule a
       meet and confer to see if we can narrow the issues before seeking the court’s intervention.



       Would you be available for a call on Monday (12/19) after 1pm or Tuesday (12/20) between 10:30 and
       3:00?



       Thanks,



       Nick




                 On Dec 13, 2022, at 4:26 PM, Nickerson, Morgan T. <Morgan.Nickerson@klgates.com>
                 wrote:




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                 Nick,




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Attached please find my client’s further edits and comments to the draft protective
order and draft ESI protocol. Kindly let me know if you have any questions or concerns
with the same.

Best regards,
Morgan




Morgan T. Nickerson
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<DRAFT__Proposed_Protective_Order WWE Edits.DOCX>




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